GAND Pro Hac Vice Application Case 1:15-cv-03816-AT Document 8 Filed 01/06/16 Page 1 of 1       12/8/15, 12:54 PM




                                            UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF GEORGIA


       CHRISTOPHER PAUL PEARSON,                                  )
       ET AL,                                                     )
                  Plaintiff                                       )   1:15-CV-03849-AT-WEJ
       v.                                                         )   1:15-CV-3816-AT-WEJ
       DR. WILLIAM WININGER, ET                                   )
       AL,                                                        )
                 Defendant                                        )


                                                          ORDER OF ADMISSION


   It appearing to the Court that the requirements stated in LR 83.1B for admission pro hac
 vice have been satisfied, the request of Petitioner David C. Gibbs, Jr. to appear pro hac
 vice in the United States District Court, Northern District of Georgia in the subject case is
 GRANTED.

 This 6th day of January, 2016.



                                                                _____________________________________
                                                                   UNITED STATES DISTRICT JUDGE




https://ecf.gand.uscourts.gov/cgi-bin/atl_PHVProcess.pl                                               Page 4 of 4
